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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF DELAWARE

 STACY PHILLIPS, LAWRENCE WILLIS,                     )
 ELI NEGRON III, CHRISTIAN PAPANA,                    )
 JASON VAN GENDEREN,                                  )
 MARK HOLLINGSWORTH and                               )
 JEFFREY G. HEINTZ, SR. on behalf of                  )
 themselves and all others similarly situated,        )
                                                      )
                                      Plaintiffs,     ) C.A. No.: 23-00251 JLH-CJB
                                                      )
                        v.                            )
                                                      )
 FCA US LLC,                                          )
                                    Defendant.        )

                   NOTICE OF SUBSTITUTION OF COUNSEL

         Please substitute the appearance of Brian O’Neill, of Clark Hill PLC on

behalf of Defendant FCA US LLC for Margaret M. DiBianca who withdraws her

appearance. Pro Hac Vice counsel of record to FCA US LLC are unaffected by this

substitution.

             CLARK HILL PLC                                     CLARK HILL PLC

/s/ Margaret M. DiBianca                            /s/ Brian O’Neill
Margaret M. DiBianca, Esq. (No. 4539)               Brian O’Neill, Esq. (No. 6315)
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Dated:       October 31, 2024                       Dated:   October 31, 2024




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